
This matter coming on to be heard upon the demurrer of the relator, Joseph Cezkovsky, to the first and second defenses of the answer of the respondent was argued by counsel and submitted to the court; upon consideration whereof, said demurrer to the first defense is overruled because the same contains a general denial of matters not specifically admitted, thus tendering an issue; and the demurrer to the second defense is overruled for the' reason that the answer pleads that the Industrial Commission was of opinion that the medical testimony offered by the applicant was not of such character as to justify final action, and that the Industrial Commission retained jurisdiction of the claim and is willing to consider any evidence which the applicant might wish to offer on this or any other phase of his case, and no final denial upon jurisdictional grounds of the right of the said Cezkovsky to participate in the state insurance fund has been found by the Industrial Commission.
Leave is granted to relator to plead on or before J anuary 14, 1933.

Demurrer overruled.

*40Marshall, C. J., Jones, Matthias, Day and Stephenson, JJ., concur.
Kinkade, J., not participating.
